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AO 442 (Rev. 11111) Arrest Warrant



                                                        UNITED STATES DISTRICT COURT
                                                                                                                                    for the

                                                                                                        District of Columbia

                         United States of America
                                             v.                                                                                       )          Case: , :22-mj-oD216
                                                                                                                                      )          Assigned To Magistrate Judge: Upadhyaya, Moxila A.
                       RICHARD SLAUGHTER                                                                                              )          Assign. Date: 9/30/2022
                                                                                                                                                 Description: Complaint wI Arrest Warrant
                                                                                                                                      )
                                                                                                                                      )
                                                                                                                                      )
                                        Defendant


                                                                                          ARREST WARRANT
To:          Any authorized law enforcement officer

             YOU ARE COMMANDED                                   to arrest and bring before a United States magistrate judge without unnecessary delay
                            RICHARD
(name of person to be arrested)           SI.AI TGHTER
who is accused of an offense or violation based on the following document filed with the court:

o Indictment                        0 Superseding Indictment                                                    0 Information                       0 Superseding Information               11: Complaint
o Probation Violation Petition                                  0 Supervised Release Violation Petition                                                        0 Violation Notice               0 Order of the Court

This offense is briefly described as follows:
18 U.S.C. §§ 111(aXI) and (b) - Assaulting, Resisting, or Impeding Certain omc.ers Using a Deadly or Dangerous Weapon.
18 U.S C. § 231(a)(3) - Obstruction of Law Enforcement during Civil Disorder,
18 U S.c. §§ 1752(3)( I) and (b)( I)(A) - Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,
18 U.s.c. §§ 1752(a)(2) and (b)(I)(A) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds with 3 Deadly or D:mgerous Weapon,
 18 U S.c. §§ 1752(3)(4) and (b)(I)(A) - Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon,
-10 U.S.c. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings




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                                                                                                                                                    Ur ~ A             i       Digitally signed by Moxila A.
                                                                                                                                                                               Upadhyaya
                                                                                                                                                                               Date: 2022.09.30 15:11 :40 -04'00'
Date:                09/30/2022
                                                                                                                                                                Issuing officer's   Signature


City and state:                                 Washington, D.C.                                                                                 Moxila A. Upadhyaya, U.S. Magistrate Judg>",e~_
                                                                                                                                                                  Printed name and title


                                                                                                                                    Return

           This warrant was received on (date)                               -,o=-qCl-lh_:_)-"Io/c...;:~Zd:...:....::..z..::.z,..         ,   and the person was arrested on (date)
at (city and state)        lC<-(O-~, vA-
Date:      I t.} hi
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                    V",z,
